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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                     CASE NO.: 21-CR-129
       Plaintiff,
vs.

Gabriel Garcia,

       Defendant.
                                              /

                         DEFENDNAT’S NOTICE OF DISCOVERY

       COMES NOW, the Defendant, Gabriel Garcia, and states the following discovery in

compliance with Fed. R. Crim. P. (b)(A) is available for inspection and copying:

       1. Video of independent journalist interviewing Mr. Garcia on January 6, 2021,

immediately after Mr. Garcia comes out of the Capitol Building, where Mr. Garcia states that he

accepts that Joe Biden won the election, that he accepts all court rulings dismissing election

lawsuit challenges, and that he was there peacefully assembling, unlike some others, in support

of Senator Cruz’s call for an electoral commission to conduct an emergency audit of the

Presidential Election popular vote.

       Respectfully submitted,

       /s/Aubrey Webb
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       55 Merrick Way, Suite 212
       Coral Gables, Florida 33134
       305-461-1116
       Email: aubrey@aqwattorney.com

       /s/Charles R. Haskell
       Law Offices of Charles R. Haskell
       641 Indiana Ave. N.W.,
       Washington D.C. 20004
       202-888-2728
       Email: Charles@CharlesHaskell.com
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was efiled to the
Office of the Clerk, United States District Court, District of Columbia, 333 Constitution Ave.,
N.W. Washington D.C. 20001, Room 1225 and to the Office of the United States Attorney, 555
4th St N.W., Washington D.C. 20530, January 26, 2022.

       /s/Aubrey Webb




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